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4    Attorney for Defendant
     Gabriel Viramontes
5
                          UNITED STATES DISTRICT COURT
6                       EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA         )
                                      )         No. Cr.S-07-432 EJG
9                    Plaintiff        )
                                      )         AMENDED
10             vs.                    )         STIPULATION RESCHEDULING RULE
                                      )         29 MOTION
                                      )
11   GABRIEL RICHARD VIRAMONTES       )         AND ORDER
                                      )
12                                    )
                                      )
13                   Defendant        )
                                      )
14

15

16        Pursuant to stipulation between the parties, petitioner’s

17   motion pursuant to Rule 29, currently scheduled to be heard on

18   December 2, 2011, is to be continued to January 6, 2012, the

19   date presently set for sentencing in this matter.

20

21   DATED November 30, 2011          Respectfully submitted,
22
                                      /S/ MICHAEL B. BIGLOW
23
                                      Michael B. Bigelow
                                      Attorney for Defendant
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1    IT IS SO STIPULATED
2    DATED: November 30, 2011                /s/ MICHAEL B. BIGELOW
                                             Michael B. Bigelow
3
                                             Attorney for Defendant
4

5    Dated; November 30, 2011                /s/MICAHEL ANDERSON
                                             Michael Anderson, AUSA
6

7

8                                     ORDER

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     IT IS SO ORDERED
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11
     DATED: November 30, 2011                /s/ Edward J. Garcia
12
                                              Judge, U.S. District Court
13                                            Eastern District, California

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